            Case 2:18-cv-02078-KJD-VCF Document 40 Filed 07/17/20 Page 1 of 1




1                                       UNITED STATES DISTRICT COURT

2                                            DISTRICT OF NEVADA

3                                                       ***
      BRANDI CZERNIEWSKI, individually, as
4     Personal Representative of the Estate of Bruce
      Schepens, as Trustee of the Bruce Schepens
5                                                          2:18-cv-02078-KJD-VCF
      Revocable Trust, and as Trustee of the Bruce
      Schepens Separate Property Trust,                    ORDER
6
                           Plaintiff,
7
      vs.
8
      KRISTINE KEPPEL, an individual, and TD
9     AMERITRADE, INC., A Foreign Corporation,

10
                            Defendants.

11
            Before the Court is the Motion for Extension of Time to File Certified Administrative Record and

12
     Answer (ECF No. 11).

13
            Accordingly,

14
            IT IS HEREBY ORDERED any opposition to the Motion for Extension of Time to File Certified

15
     Administrative Record and Answer (ECF No. 11) must be filed on or before July 24, 2020. No reply

16
     necessary.

17
            IT IS FURTHER ORDERED that a telephonic hearing on the Motion for Extension of Time to

18
     File Certified Administrative Record and Answer (ECF No. 11) is scheduled for 10:00 AM, July 27, 2020.

19
            The call-in telephone number is (888) 273-3658, access code: 3912597. The call must be made

20
     five minutes prior to the hearing time. The court will join the call and convene the proceedings. To

21
     improve sound quality, the parties should use a land line, at all possible. The use of a speaker phone

22
     during the proceedings is prohibited.

23
            DATED this 17th day of July, 2020.
                                                                  _________________________
24                                                                CAM FERENBACH
                                                                  UNITED STATES MAGISTRATE JUDGE
25
